

Xiaoguang Jiang v American Express Co. (2021 NY Slip Op 06041)





Xiaoguang Jiang v American Express Co.


2021 NY Slip Op 06041


Decided on November 04, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 04, 2021

Before: Acosta, P.J., Renwick, Kapnick, Kennedy, Mendez, JJ. 


Index No. 653400/19 Appeal No. 14565-14565A Case No. 2020-03516, 2020-04855 

[*1]Xiaoguang Jiang, Plaintiff-Appellant,
vAmerican Express Company, Defendant-Respondent. 


Xiaoguang Jiang, appellant pro se.
Stroock &amp; Stroock &amp; Lavan LLP, New York (Raymond A. Garcia of counsel), for&nbsp;respondent.



Appeal from order, Supreme Court, New York County (Melissa Anne Crane, J.), entered June 25, 2020, which granted defendant's motion to stay the lawsuit pending completion of arbitration between the parties and denied plaintiff's motion for a default judgment against defendant, unanimously dismissed, without costs. Appeal from order, same court and Justice, entered October 1, 2020, which, to the extent appealed from as limited by the briefs, denied plaintiff's motion to vacate the June 25, 2020 order, unanimously dismissed, without costs.
Plaintiff Xiaoguang Jiang has actively participated in the arbitration of the present claim, and therefore waived his right to appeal from the order directing the parties to arbitrate the claim and staying the litigation pending arbitration, and from the order denying vacatur of the prior order (see Matter of Beagle [Motor Veh. Acc. Indem. Corp.],  19 NY2d 834, 835 [1967]; Matter of Mirochnik v Allstate Ins. Co. , 233 AD2d 513, 513 [2d Dept 1996]; see also Matter of Commerce &amp; Indus. Ins. Co. v Nester , 90 NY2d 255, 264 [1997]). Jiang never moved to stay arbitration pending these appeals. 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 4, 2021








